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                       Exhibit 2
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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,
                              Plaintiff,
                        v.                                Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                             Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
 OF      EDUCATION,          WEST      VIRGINIA
 SECONDARY            SCHOOL         ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.



                                  DECLARATION OF B.P.J.

       I, B.P.J., pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I make this declaration of my own personal knowledge, and, if called as a witness,

I could and would testify competently to the matters stated herein.

       2.      I am a girl who is also transgender. I am 11 years old, and I am in the sixth grade

at Bridgeport Middle School. I have two older brothers, ages 14 and 20. I live with my brothers;

my mom, Heather; and my dad, Wesley in Lost Creek, West Virginia.

       3.      Some of my favorite things to do include playing outside with our family’s dogs,

riding my bike, running with my friends and family, and jumping on the trampoline. I am very


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passionate about math and science and make straight As in school. Also, I like to play

videogames like Apex Legends, Minecraft, and Overwatch. I also got an Oculus this year, and I

love playing the Beat Saber game.

         4.     I knew from when I was very little that I am a girl. When I was younger, I

remember always feeling like I wasn’t in the right body and wanting to play in my mom’s

clothing.

         5.     My mom has always been supportive of me, so it felt normal for me to talk to her

about how I was feeling about being a girl and that I wanted to go by the name B.P.J. While

talking to my dad was a little bit harder in the beginning, he supported me in wanting to be

referred to as B.P.J. and in the fact that I am a girl.

         6.     During my fourth-grade year, I went to school dressed in clothes that girls wear,

and teachers and staff were using my chosen name. My mom and I met with my principal,

teacher, and others at my school to make a plan for how my school could best support me as a

girl. I was happy with the plan we developed together, and I really felt supported by my

classmates and by my school.

         7.     One of the ways my parents supported me in being the girl that I am is that they

took me to see a team of healthcare professionals who work with transgender people. I was

diagnosed with gender dysphoria in 2019.

         8.     I am currently on puberty-delaying medication and have been for almost two

years.

         9.     In fourth grade, I joined a cheerleading team with other girls. I first got into

cheering because my mom encouraged me to try a sport. Since I had spent time learning cheer




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routines while in the stands at football games and my friends were also on the cheer team, I

decided to pursue cheer.

        10.     I really liked being a cheerleader. It was fun. I liked having the chance to be on a

team with my friends and learning how to do all the cheers. I never had any problems with the

other girls on the team.

        11.     During my first year on the cheer team, our team placed at a cheer competition for

the first time ever. It made me feel proud and good about myself to work hard and improve as a

team.

        12.     Heading into junior high school, I was excited to try out for the girls’ cross-

country and track teams. Although I really enjoyed my time on the cheer team, I sometimes got

“stage fright” and preferred to take up a new sport.

        13.     Since I was young, I have always enjoyed running and everyone in my family

runs. My older brothers run cross-country, and my mom runs too. Seeing my family run has

motivated me to want to try out and participate.

        14.     Last spring, my mom told me about a law called H.B. 3293 that prevents

transgender girls like me from playing on girls’ sports teams. Knowing that I could not try out

for the girls’ cross-country and track teams just because I am a transgender girl was horrible and

made me feel angry and sad. It hurt to know that I would not be able to have the chance to run

on the girls’ team like my friends can because of who I am.

        15.     I am not a boy. I do not want to run with the boys when there is a girls’ team and I

should not have to run with the boys when there is a girls’ team.

        16.     Running with the girls means a lot to me because I am a girl, and I should be

treated like a girl, just like all my friends who are girls. If I did not get to participate in cross-



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country or track, I would have missed out on the opportunity to spend time with my friends and

grow with a new team.

       17.     In July 2021, I participated in training and conditioning before the August try-outs

for the girls’ cross-country team. Participating in training and conditioning was a positive

experience—I had fun getting to know the coaches and teammates, and challenging myself to

run as well as I could.

       18.     Following try-outs at the beginning of August, I learned that I made the girls’

cross-country team. My first cross-country season was awesome, and I felt supported by my

coaches and the other girls on the team. I made so many new friends and loved competing with

and supporting my teammates. We learned about teamwork, having a positive attitude, and how

to have fun while being competitive.

       19.     Since I was also interested in participating on the girls’ track team, I looked

forward to spring try-outs.

       20.     In early March, I participated in two weeks of try-outs for the girls’ track team

and on March 11, 2022, I learned that I made the girls’ track team. I was ecstatic.

       21.     Ultimately, I just want to have the opportunity to participate in school sports like

any other girl. Sports are an important part of my experience at school, and I was so happy to be

able to have the chance to participate in cross-country and track this year with the other girls in

my school. I look forward to many more years of running with my peers. It is so upsetting and

hurtful that some people want to take that chance away from me and treat me differently from

everyone else just because I am transgender.

                                                ***




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on 04/19/2022                      ________________________________
                                            B.P.J.




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